         Case 3:19-cv-00212-WWE Document 43 Filed 09/11/19 Page 1 of 8




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


JOHN DOE,
  Plaintiff,                                                 CIVIL ACTION NO.
                                                             3:19-(:V-00212-W WE
v.

FAIRFIELD UNIVERSITY, ET AL,
   Defendants.                                                SEPTEMBER 11, 2019



      REPORT OF PARTIES' PLANNING MEETING PURSUANT TO FRCP 26(f1

        Date Complaint Filed:                          February 12, 2019

        Date Waiver of Set~vice forms returned

        executed:                                      March 11, 2019

        Date of Defendant's Appearance:                May 10, 2019

        Pursuant to Fed. R. Civ. P. 16(b), 26(f), and D. Conn. Local Civil Rule 26, the parties

conferred on July 17, 2019. The participants were:

        for the Plaintiff:                             Stuart Bernstein, Kara Gorycki

        for the Defendant:                             Jonathan Sterling

I.      CERTIFICATION

        The parties certify that, after consultation with their clients, they have discussed the

nature and basis of the parties' claims and defenses and any possibilities for achieving a prompt

settlement or other resolution of the case and, in consultation with their clients, have developed

the following proposed case management plan. Counsel further certify that they have forwarded

a copy of this report to their clients.
          Case 3:19-cv-00212-WWE Document 43 Filed 09/11/19 Page 2 of 8




II.       JURISDICTION

          A.     Subject Matter Jurisdiction

          Subject matter jurisdiction is conferred upon the court Linder the provisions of 28 U.S.C.

§§ 1331 and 1332.

         B.      Personal Jurisdiction.

         Uncontested.

III.     BRIEF DESCRIPTION OF CASE

          A.     Claims of Plaintiff

         Plaintiff has alleged claims against Defendant Fairfield University for: sex discrimination

      under Title IX of the Education Amendments of 1972 under erroneous outcome and selective

      enforcement theories; breach of contract; breach of the implied covenant of good faith and

      fair dealing; and disability discrimination under Section 504 of the Rehabilitation Act.

      Plaintiff has alleged a claim for negligent infliction of emotional distress against Defendants

      Brown and Donoghue.

         B.      Defenses and Claims (Countet•claims, Third Party Claims, Cross Claims) of
                 Tlafanrlant



         Defendants generally deny Plaintiff's allegations of discrimination, breach of contract,

negligence, and other wrongful conduct and assert that the claims fail as a matter of law.

         C.      Defenses and Claims of Third Party Defendants)

         Not applicable.

IV.      STATEMENT OF UNDISPUTED FACTS

         The undersigned counsel certify that they have made a good faith attempt to determine

whether there are any material facts that are not in dispute. The parties state that the following

material facts are not disputed:




                                                   2
        Case 3:19-cv-00212-WWE Document 43 Filed 09/11/19 Page 3 of 8




        A.     In Fall 2014, Plaintiff enrolled at Fairfield University as a Freshman.

        B.     On or about December 6, 2017 Jane Roe made a complaint to the University's

Department of Public Safety ("DPS") alleging sexual misconduct against Plaintiff.

        C.     On or about February 9, 2018, the University convened a disciplinary hearing

regarding the allegations against Plaintiff (the "First Hearing")

        D.     The First Hearing was subsequently nullified.

        E.     The parties agree to continue discussing in good faith further undisputed issues of

fact.

V.      CASE MANAGEMENT PLAN

        A.      Standing Order on Schedltlin~ in Civil Cases

        The parties request a modification of the deadlines in the Standing Order on Scheduling

in Civil Cases as set forth below.

        B.      Scheduling Conference with the Court

        The parties request a limited pretrial conference with the Court before entry of a

scheduling order. Counsel for the parties have had three separate lengthy calls and exchanged

multiple drafts of this report. Through good faith discussion, the parties have reached agreement

on almost all issues. The only item of disagreement is the timing of fact discovery vis a vis

expert discovery. It is the position of the Defendant that the expert disclosure and deposition

deadlines should occur within the deadline for fact discovery. It is the position of the Plaintiff

that fact discovery should conclude before the expert disclosure and deposition deadline. The

parties therefore seek a scheduling conference with the Court to address this issue.

        C.     Early Settlement Conference




                                                  3
Case 3:19-cv-00212-WWE Document 43 Filed 09/11/19 Page 4 of 8




     1.     The parties certify that they have considered the desirability of attempting

            to settle the case before undertaking significant discovery or motion

            practice.

     2.     The parties request an early settlement conference.

     3.     The parties prefer an early settlement conference with Magistrate William

           I. Garfinkel.

     4.     The parties do not request a referral for alternative dispute resolution

           pursuant to D. Conn. L. Civ. R. 16.

D.   Joinder of Parties and Amendment of Pleadings

     1.    Plaintiff should be allowed until October 1, 2019 to file motions to join

            additional parties and to file motions to amend the pleadings.

     2.    Defendants should be allowed until October 15, 2019 to file motions to

           join additional parties. The Defendants have filed a Motion to Dismiss as

           their responsive pleading.

E.   Discovery

     a.    The parties have considered the scope of discovery permitted under Fed R.

           Civ. P. 26(b)(4).

     b.    The parties anticipate that discovery will be needed on the following

           subjects: (a) the facts alleged in the Complaint; (b) Defendants' defenses;

           and (c) Plaintiff's damages.

     c.    All discovery, including depositions of expert witnesses pursuant to Fed.

           R. Civ. P. 26(b)(~), wi11 be completed (not propounded) by September 1,

           2020.




                                      4
Case 3:19-cv-00212-WWE Document 43 Filed 09/11/19 Page 5 of 8




     d.    Plaintiff has proposed that fact discovery conclude before expert

           disclosures are due and expert discovery commences. Defendants have

           objected to this proposal.

     e.    Not Applicable.

     f.    Plaintiff anticipates that he will require a total of approximately 10

           depositions of fact witnesses, and Defendants anticipate that they will

           require a total of approximately 5 depositions of fact witnesses. .Timing

           to be discussed at scheduling conference.

     g.    At this time, the parties do not anticipate requesting permission to serve

           more than 25 interrogatories but reserve the right to do so. Initial

          Disclosures will be due on October 15, 2019

     h.   Plaintiff may call expert witnesses at trial. Defendant may call expert

           witnesses at trial.

    i.     To be discussed at scheduling conference.

     j.    To be discussed at scheduling conference.

     k.   To be discussed at scheduling conference.

     1.   Undersigned agree to discuss in good faith the disclosure and preservation

          of electronically stored information, including, but not limited to, the form

          in which such data shall be produced, search terms to be applied in

          connection with the retrieval and production of such information, the

          location and format of electronically stored information, appropriate steps

          to preserve electronically stored information, and the allocation of costs of

          assembling and producing such information. The parties will be




                                        5
        Case 3:19-cv-00212-WWE Document 43 Filed 09/11/19 Page 6 of 8




                       negotiating an agreement governing the protocol in which electronically

                       stored information will be disclosed. Discovery of electronically stored

                      information will be addressed in the parties' respective discovery requests.

               m.      Undersigned will discuss discovery procedures that minimize the risk of

                       waiver of privilege or work-product protection, including procedures for

                       asserting privilege claims after production. The parties agree to the

                       following procedures for asserting claims of privilege after production:

                       the parties will adhere to the procedure set forth in Rule 26(b)(5)(B) of the

                      Federal Rules of Civil Procedure.

       F.      Not applicable.

       G.      Summary Judgment Motions

       Any summary judgment motions will be filed on or before October 15, 2020.

       H.      Joint Trial Memorandum

       The joint trial memorandum required by the Standing Order on Trial Memoranda in Civil

Cases will be filed by October 15, 2020 (or two months after the Court's decision on dispositive

motions, whichever date is later).

VI.    TRIAL READINESS

       The case will be ready for trial by December 1, 2020 (or three months after the Court's

decision on dispositive motions, whichever date is later).

       The undersigned agree to cooperate with each other and the Court to promote the just,

speedy and inexpensive determination of this action.
Case 3:19-cv-00212-WWE Document 43 Filed 09/11/19 Page 7 of 8




THE PLAINTIFF




     By: /s/ Stuart Bernstein                Date: September 11, 2019
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      Stuart Bernstein


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THE DEFENDANTS




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                                      7
        Case 3:19-cv-00212-WWE Document 43 Filed 09/11/19 Page 8 of 8




                                         CERTIFICATION

        This is to certify that on this 11th day of September, 2019, a copy of the foregoing was
filed electronically. Notice of this filing will be sent by e-snail to all parties by operation of the
court's electronic filing system:

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